                               Fidelity National Title & Escrow of Hawaii
                                            201 Merchant Street #2100
                                                Honolulu, HI 96813
                                        (808)536-0404 * FAX (808)536-1095


                                           PRELIMINARY REPORT

In response to the application for a policy of title insurance referenced herein, Fidelity National Title & Escrow of
Hawaii hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a Policy of Policies
of Title Insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss
which may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an Exception
below or not excluded from coverage pursuant to the printed Schedule, Conditions and Stipulations of said Policy
forms.

The printed Exceptions and Exclusions from the coverage of said Policy or Policies are set forth in Attachment
One attached. Copies of the Policy forms should be read. They are available from the office which issued this
report.

This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.

The Policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company a California Corporation.

Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.

It is important to note that this preliminary report is not a written representation as to the condition of
title and may not list all liens, defects and encumbrances affecting title to the land.




                                                                Fidelity National Title & Escrow of Hawaii


Countersigned




FDHI0442.rdw                                                                                 Preliminary Report (Cover Sheet)



                                                  EXHIBIT 13
                               Fidelity National Title & Escrow of Hawaii
                                 201 Merchant Street #2100 * Honolulu, HI 96813
                                      (808)536-0404 * FAX (808)536-1095

                                           PRELIMINARY REPORT

Escrow Officer:                                                                     Order No.: 15008205-FTHAI01
Title Officer:

TO:
ATTN:
SHORT TERM RATE:          NO

PROPERTY ADDRESS:


EFFECTIVE DATE: MAY 19, 2015, 08:00 AM

The form of Policy or Policies of title insurance contemplated by this report is:


       TO BE DETERMINED

1.    THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
      COVERED BY THIS REPORT IS:
      FEE SIMPLE
2.    TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:
      UNITED STATES OF AMERICA
3.    THE LAND REFERRED TO IN THIS REPORT IS SITUATED IN THE COUNTY OF HONOLULU, STATE
      OF HAWAII, AND IS DESCRIBED AS FOLLOWS:
      SEE EXHIBIT "ONE" ATTACHED HERETO AND MADE A PART HEREOF




FDHI0443.rdw
                                                                                          Preliminary Report (Schedule)


                                                 EXHIBIT 13
                                                                                   Order No.: 15008205-FTHAI01

                                             EXHIBIT ONE
                                          LEGAL DESCRIPTION
THE LAND REFERRED TO IN THIS REPORT IS SITUATED IN THE COUNTY OF HONOLULU, STATE OF
HAWAII, AND IS DESCRIBED AS FOLLOWS:
-: HAWAII LOA LAND :-

HAWAII LOA - Phase 2
MARINE CORPS BASE HAWAII
Being a portion of Land Commission Award 4475, Apana 13 to H. Kalama.
Situate at Heleloa, Kaneohe, Koolaupoko, Oahu, Hawaii.

       Beginning at the Southwest corner of this parcel of land and on the North side of Mokapu Road the
coordinates of said point of beginning referred to Government Survey Triangulation Station "MOKAPU" being
3,328.72 feet South and 8,977.67 feet West and running by azimuth measured clockwise from true South:

1.      205º   33'               4.89         feet across the concrete sidewalk;

2.      231º   00'              26.32         feet along the chain link fence;

3.      Thence along the chain link fence on a curve to the right with a radius of 135.00
                                              feet the chord azimuth and distance being:

        240º   36'     30"      45.07         feet;

4.      261º   14'              21.51         feet along the chain link fence;

5.      207º   49'              10.18         feet along the chain link fence;

6.      226º   36'              47.43         feet along the chain link fence;

7.      242º   01'              51.39         feet along the chain link fence;

8.      196º   23'             109.49         feet along the chain link fence;

9.      Thence along the chain link fence on a curve to the right with a radius of 28.56
                                              feet the chord azimuth and distance being:

        236º   12'              36.58          feet;

10.     Thence along the chain link fence on a curve to the right with a radius of 247.00
                                              feet the chord azimuth and distance being:

        291º   21'             130.63         feet;

11.     306º   41'              51.38         feet along the chain link fence;

12.     219º   21'              69.78         feet along chain link fence and across asphalt
                                              concrete road;

13.     129º   21'              31.08         feet along the North edge of asphalt concrete
                                               pavement;


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                                                                                        Preliminary Report (Exhibit One)




                                               EXHIBIT 13
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                                                 EXHIBIT ONE
                                                    (Continued)



14.     Thence along a line two (2) feet offset from the West edge of the swale on a curve
                                                to the right with a radius of 222.00 feet the
                                                 chord azimuth and distance being:

        231º   40'      30"     138.49          feet;

15.     Thence along a line two (2) feet offset from the West edge of the swale on a
                                                curve to the right with a radius of 663.00 feet the
                                                chord azimuth and distance being:

        254º    14'             101.34          feet;

16.     263º    20'              53.31          feet along a line two (2) feet offset from the
                                                West edge of the swale;

17.     270º    14'              85.24          feet along a line two (2) feet offset from the
                                                West edge of the swale;

18.     259º    45'             114.41          feet along a line two (2) feet offset from the
                                                West edge of the swale;

19.     254º    37'              41.92          feet along a line two (2) feet offset from the
                                                West edge of the swale;

20.     248º    37'              27.24          feet along a line two (2) feet offset from the
                                                West edge of the swale;

21.     229º    39'              20.49          feet along cut edge of vegetation;

22.     249º    18'              54.80          feet along cut edge of vegetation;

23.     255º    24'             100.54          feet along cut edge of vegetation;

24.     248º    22'              89.50          feet along cut edge of vegetation;

25.     229º    25'              66.37          feet along cut edge of vegetation;

26.     218º    14'              67.23          feet along cut edge of vegetation;

27.     137º    29'              65.92          feet along a line South of concrete footing of
                                                guy wire anchor;

28.     233º    42'              74.12          feet along a line ten (10) feet offset West of the
                                                West face of the concrete footing of guy wire
                                                anchor;




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                                                                                           Preliminary Report (Exhibit One)




                                                 EXHIBIT 13
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                                         EXHIBIT ONE
                                            (Continued)


29.     223º   36'           77.58      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

30.     204º   40'          194.84      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

31.     196º   27'           97.34      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

32.     184º   05'           97.05      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

33.     184º   28'           39.81      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

34.     178º   10'           75.96      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

35.     151º   19'           31.72      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

36.     159º   11'           80.41      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

37.     151º   06'           16.97      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

38.     145º   29'           78.88      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

39.     138º   51'           76.89      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;

40.     133º   10'           58.36      feet along a line ten (10) feet offset West of the
                                        West face of the concrete footing of guy wire
                                        anchor;




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                                                                                   Preliminary Report (Exhibit One)




                                         EXHIBIT 13
Order No.             15008205-FTHAI01
                                                EXHIBIT ONE
                                                   (Continued)


41.     124º   15'              55.51          feet along a line ten (10) feet offset West of the
                                               West face of the concrete footing of guy wire
                                               anchor;

42.     Thence along a line ten (10) feet offset West of the West face of the concrete
                                                footing of guy wire anchor on a curve to the
                                                right with a radius of 66.00 feet the chord
                                                azimuth and distance being:

        160º   25'               77.90         feet;

43.     196º   35'             174.24          feet along a line twenty (20) feet West of the
                                               chain link fence;

44.     204º   01'               38.97         feet along the edge of cut vegetation line;

45.     134º   48'               26.71         feet along the edge of cut vegetation line;

46.     211º   47'               12.17         feet along cut edge of vegetation and across
                                               concrete sidewalk;

47.     305º   41'             136.46          feet along the curb of Reeves Road;

48.     308º   12'               57.05         feet along the South edge of asphalt concrete
                                               pavement of Reeves Road;

49.      14º   07'                5.54         feet along catch basin;

50.     295º   18'                8.99         feet along catch basin;

51.     214º   59'                4.17         feet along catch basin;

52.     308º   29'             113.28          feet along the curb and asphalt concrete
                                               pavement of Reeves Road;

53.      28º   11'                4.81         feet along catch basin;

54.     301º   58'                8.51         feet along catch basin;

55.     216º   57'                4.00         feet along catch basin;

56.     309º   16'               59.00         feet along curb of Reeves Road;

57.     310º   19'               61.02         feet along the edge of asphalt concrete pavement
                                               of Reeves Road;

58.      37º   01'                4.88         feet along catch basin;




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                                                                                          Preliminary Report (Exhibit One)




                                                EXHIBIT 13
Order No.              15008205-FTHAI01
                                                EXHIBIT ONE
                                                   (Continued)


59.     307º     57'            10.99          feet along catch basin;

60.     215º     08'              4.54         feet along catch basin;

61.     Thence along curb and along asphalt concrete pavement of Reeves Road on a
                                             curve to the left with a radius of 91.00 feet the
                                             chord azimuth and distance being:

        275º     39'   30"     103.67          feet;

62.     240º     56'           175.77          feet along curb and asphalt concrete pavement
                                               of Reeves Road;

63.     247º     42'            14.33          feet along curb of Reeves Road;

64.     250º     15'            14.16          feet along curb of Reeves Road;

65.     Thence along curb of Reeves Road on a curve to the right with a radius of 163.00
                                           feet the chord azimuth and distance being:

        257º     59'            43.87 feet;

66.     265º     43'             12.16         feet along curb of Reeves Road;

67.     268º     47'            19.72          feet along curb of Reeves Road;

68.     259º     14'              9.47         feet along curb of Reeves Road;

69.     348º     23'              3.89         feet across concrete sidewalk, along Waikulu
                                               Phase 2;

70.      78º     35'              8.20         feet along concrete sidewalk, along Waikulu
                                               Phase 2;

71.      15º     13'           219.55          feet along Waikulu Phase 2;

72.      25º     01'            22.62          feet along Waikulu Phase 2;

73.         4º   49'            21.64          feet along Waikulu Phase 2;

74.      16º     06'   30"     165.44          feet along Waikulu Phase 2;

75.      11º     40'   30"      66.30          feet along Waikulu Phase 2;

76.      14º     28'            35.69          feet along Waikulu Phase 2;

77.      16º     25'            75.50          feet along Waikulu Phase 2;




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                                                                                        Preliminary Report (Exhibit One)




                                                EXHIBIT 13
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                                           EXHIBIT ONE
                                              (Continued)


78.      90º     12'           11.62      feet along concrete sidewalk, along Waikulu
                                          Phase 2;

79.         9º   50'          210.88      feet along wall, along Waikulu Phase 2;

80.      35º     56'   06"     54.26      feet along wall, along Waikulu Phase 2;

81.      18º     29'   40"     83.25      feet along grass, along Waikulu Phase 2;

82.      14º     00'   50"    154.17      feet along wall, along Waikulu Phase 2;

83.      19º     24'   51"    124.72      feet along grass, along Waikulu Phase 2;

84.      28º     21'   12"    124.60      feet along wall, along Waikulu Phase 2;

85.      32º     50'           57.87      feet along wall, along Waikulu Phase 2;

86.      69º     30'           17.86      feet along grass, along Waikulu Phase 2;

87.      42º     06'   30"     66.45      feet along wall and grass, along Waikulu
                                          Phase 2;

88.      48º     21'           50.48      feet along wall and grass, along Waikulu
                                          Phase 2;

89.      50º     02'           70.33      feet along grass and fence, along Waikulu
                                          Phase 2;

90.      60º     07'   30"     91.24      feet along grass, along Waikulu Phase 2;

91.      71º     89'   30"     81.06      feet along grass and fence, along Waikulu
                                          Phase 2;

92.      73º     19'           49.66      feet along fence, along Waikulu Phase 2;

93.      85º     31'            9.66      feet along fence, along Waikulu Phase 2;

94.      44º     22'           13.53      feet along fence, along Waikulu Phase 2;

95.     359º     21'            8.57      feet along fence, along Waikulu Phase 2;

96.     268º     34'           17.07      feet along fence, along Waikulu Phase 2;

97.         1º   50'            6.88      feet across concrete sidewalk, along Waikulu
                                          Phase 2;

98.      87º     06'           86.18      feet along grass and across concrete sidewalk;




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                                                                                     Preliminary Report (Exhibit One)




                                           EXHIBIT 13
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                                                 EXHIBIT ONE
                                                   (Continued)


99.     180º     01'              1.13         feet along catch basin;

100.     90º     01'              7.13         feet along catch basin;

101.        0º   01'              1.05         feet along catch basin;

102.    Thence along concrete sidewalk on a curve to the right with a radius of 83.50 feet
                                             the chord azimuth and distance being:

        103º     41'             39.46         feet;


103.    Thence along concrete sidewalk on a curve to the right with a radius of 19.00 feet
                                             the chord azimuth and distance being:

        151º     16'   30"       21.21         feet;

104.     95º     12'              5.54         feet across concrete sidewalk;

105.    141º     58'             36.91         feet across Kaawa Street;

106.    131º     28'              5.05         feet across concrete sidewalk;

107.    221º     28'             19.98         feet along concrete sidewalk of Kaawa Street;

108.    150º     07'             41.84         feet along chain link fence;

109.    152º     59'             21.70         feet along chain link fence;

110.    162º     17'             24.87         feet along chain link fence;

111.    157º     20'              9.87         feet along chain link fence;

112.    129º     14'              9.05         feet along chain link fence;

113.    118º     14'             16.87         feet along chain link fence and along wall;

114.    Thence along wall on a curve to the left with a radius of 36.00 feet the chord
                                               azimuth and distance being:

         98º     31'   30"       24.28         feet;

115.     66º     36'           138.71          feet along wall;

116.    Thence along wall on a curve to the left with a radius of 10.00 feet the chord and
                                               distance being:

         21º     53'   30"       14.07 feet;



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                                                                                         Preliminary Report (Exhibit One)




                                                EXHIBIT 13
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                                                EXHIBIT ONE
                                                   (Continued)


117.    337º   11'              83.40          feet along wall and along chain link fence;

118.     67º   11'                4.43         feet along utility box;

119.    337º   11'               8.27          feet along utility box;

120.    247º   11'                4.43         feet along utility box;

121.    337º   11'              57.93          feet along chain link fence;

122.    247º   11'              80.63          feet along concrete wall;

123.    337º   11'                6.95         feet along manhole;

124.    247º   11'                9.80         feet along manhole;

125.    157º   11'                6.95         feet along manhole;

126.    247º   11'              24.43          feet along concrete wall;

127.    157º   11'                2.34         feet along concrete wall;

128.    247º   11'              14.70          feet along concrete curb;

129.    Thence along concrete sidewalk on a curve to the right with a radius of 5.00 feet
                                             the chord azimuth and distance being:

        356º   09'               2.93          feet;

130.    Thence along concrete sidewalk on a curve to the right with a radius of 34.50 feet
                                             the chord azimuth and distance being:

         39º   44'     30"        9.51         feet;

131.     47º   40'              55.10          feet along concrete sidewalk;

132.    Thence along concrete sidewalk on a curve to the left with a radius of 89.00 feet
                                             the chord azimuth and distance being:

         37º   10'              32.44          feet;

133.     26º   40'                3.54         feet along concrete sidewalk;

134.    Thence along concrete sidewalk on a curve to the right with a radius of 35.50 feet
                                             the chord azimuth and distance being:

         42º   33'              19.43          feet;




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                                                                                        Preliminary Report (Exhibit One)




                                                EXHIBIT 13
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                                                EXHIBIT ONE
                                                   (Continued)


135.     58º     26'             2.22          feet along concrete sidewalk;

136.    Thence along concrete sidewalk on a curve to the right with a radius of 9.00 feet
                                             the chord azimuth and distance being:

         75º     32'   30"        5.30         feet;

137.     92º     39'              6.73         feet along concrete sidewalk;

138.     16º     48'            37.70          feet along asphalt concrete pavement of Kaawa
                                               Street;

139.        3º   24'              4.76         feet along catch basin;

140.    273º     24'              4.76         feet along catch basin;

141.    Thence along catch basin and along concrete sidewalk on a curve to the right with
                                             a radius of 20.50 feet the chord azimuth and
                                             distance being:

        316º     48'            28.17          feet;

142.        0º   12'            53.70          feet along concrete sidewalk;

143.    Thence along concrete sidewalk on a curve to the right with a radius of 19.00 feet
                                             the chord azimuth and distance being:

         45º     47'            27.14          feet;

144.     91º     22'           301.09          feet along concrete sidewalk;

145.    Thence along concrete sidewalk on a curve to the right with a radius of 1414.46
                                             feet the chord azimuth and distance being:

         99º     09'   33"     383.56          feet;

146.    Thence along concrete sidewalk on a curve to the right with a radius of 978.51
                                             feet the chord azimuth and distance being:

        111º     15'   03"     146.71          feet;

147.    115º     33'            63.49          feet along asphalt concrete pavement of Mokapu
                                               Road to the point of beginning and containing an
                                               area of 1,053,390 square feet or 24.183 acres,
                                               more or less.




FDHI0445.rdw
                                                                                        Preliminary Report (Exhibit One)




                                                EXHIBIT 13
Order No.             15008205-FTHAI01
                                               EXHIBIT ONE
                                                (Continued)


Being the land(s) conveyed by the following:


ORDER ON DECLARATION OF TAKING - DISTRICT COURT OF THE UNITED STATES - DISTRICT OF
HAWAII - CIVIL NO. 413

Dated:                        July 21, 1939
Vestee:                       UNITED STATES OF AMERICA
Recorded:                     Document No. 16044 and Book 3435, Page 34




TMK: (1) 4-4-008-001 (PORTION)




FDHI0445.rdw
                                                                          Preliminary Report (Exhibit One)




                                               EXHIBIT 13
                                                                                   Order No.: 15008205-FTHAI01

                                                 EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.    (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that
      levies taxes or assessments on real property or by the Public Records; (b) proceedings by a public agency
      that may result in taxes or assessments, or notices of such proceedings, whether or not shown by the
      records of such agency or by Public Records.

2.    Any facts, rights, interests, or claims that are not shown by the Public Records but that could be
      ascertained by an inspection of the Land or that may be asserted by persons in possession of the Land.

3.    Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.

4.    Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that
      would be disclosed by an accurate and complete land survey of the Land and not shown by the Public
      Records.

5.    (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the
      issuance thereof; (c) water rights, claims or title to water, whether or not the matters excepted under (a),
      (b), or (c) are shown by the Public Records.

6.    Property taxes, including any personal property taxes and any assessments collected with taxes, for the
      fiscal year 2014-2015, Tax Map Key (1) 4-4-008-001 (PORTION), has not been assessed yet in the
      Honolulu County Tax Office.

7.    Mineral and water rights of any nature in favor of the State of Hawaii.

8.    Triangulation Survey Station PUU HAWAII LOA is located within the land herein described, as shown on
      Tax Map. Attention is invited to the provisions of Section 172-13 of the Hawaii Revised Statutes, as
      amended, relative to the destruction, defacing or removal of survey monuments.




FDHI0444.rdw
                                                                                          Preliminary Report (Exceptions)




                                                EXHIBIT 13
Order No.            15008205-FTHAI01
                                               EXCEPTIONS
                                                 (Continued)


9.    A leasehold as created by that certain lease dated April 29, 2004, but effective May 1, 2004, executed by
      the United States of America, Department of the Navy, as lessor, and Hawaii Military Communities, LLC, a
      Hawaii limited liability company, as lessee, as referenced in the document entitled "Real Estate
      Ground/Facilities Lease", a memorandum of which was recorded as Memorandum of Ground Lease,
      Grant and Reservation of Easements, Restrictions on Access Rights and Deed of Improvements on May
      4, 2004 in the Office of the Assistant Registrar of the Land Court of the State of Hawaii (the "Office") as
      Land Court Document No. 3104981 and noted on Transfer Certificate of Title Nos. listed therein and also
      in the Bureau of Conveyances of the State of Hawaii (the "Bureau") as Document No. 2004-089152. The
      interests created therein were assigned to Ohana Military Communities, LLC, a Hawaii limited liability
      company, by that certain Omnibus Assignment, Assumption, Consent and Release Agreement (Including
      Assignment and Assumption of Ground Lease, Conveyance of Improvements, Assignment and Assumption
      of Mortgage and Assignment of Rents) dated as of April 29, 2004, but effective as of May 27, 2004 and
      recorded on May 26, 2004 in said Office as Land Court Document No. 3114646, 3114647 and 3114648, and
      noted on Transfer Certificate of Title Nos. listed therein and also in said Bureau as Document No. 2004-
      106214, 2004-106215 and 2004-106216, as confirmed in, and as amended by, Amended and Restated
      Real Estate Ground Lease and Conveyance of Improvements dated October 1, 2006, as confirmed by that
      certain Memorandum of: (I) Amended and Restated Ground Lease; (II) Covenants; (III) Conveyance of
      Improvements; (IV) Grant and Reservation of Easements; and (V) Restrictions on Access Rights; and
      Consent, and filed in said Office of the Assistant Registrar as Document No. 3495677 thru 3495682, and
      also recorded in said Bureau of Conveyances as Document No. 2006-185229 thru 2006-185236 which was
      further amended by First Amendment to Memorandum of: (I) Amended and Restated Ground Lease; (II)
      Covenants; (III) Conveyance of Improvements; (IV) Grant and Reservation of Easements; and (V)
      Restrictions on Access Rights; and Consent, collectively (the "Memorandum"), and filed in said Office of the
      Assistant Registrar as Document No. 3513189 thru 3513192, and also recorded in said Bureau of
      Conveyances as Document No. 2006-207963 thru 2006-207968, as confirmed in, and as amended by
      Second Amended and Restated Ground Lease and Conveyance of Improvements dated October 1, 2007
      (collectively the "Ground Lease") as confirmed by that certain Memorandum of (I) Second Amended and
      Restated Ground Lease; (II) Covenants; (III) Conveyance of Improvements; (IV) Grant and Reservation of
      Easements; and (V) Restrictions on Access Rights; and Consent, collectively (the "Second Memorandum"),
      dated October 1, 2007 and filed in said Office of the Assistant Registrar as Document No. 3662317 thru
      3662324, and also recorded in said Bureau of Conveyances as Document No. 2007-173821 thru 2007-
      173832, which was further amended by Memorandum of Conveyance of Improvements and Ground Lease,
      First Amendment to: Memorandum of: (I) Second Amended and Restated Ground Lease; (II) Covenants;
      (III) Conveyance of Improvements; (IV) Grant and Reservation of Easements; and (V) Restrictions on
      Access Rights; Partial Release and Consent, collectively (the "First Amendment to the Memorandum"), and
      filed in said Office of the Assistant Registrar on October 25, 2007, as Document No. 3673353 through
      3673354 and noted on Transfer Certificate of Title Nos. listed therein, and also recorded in said Bureau of
      Conveyances as Document No. 2007-188545 through 2007-188549, and as amended by Third Amended
      and Restated Ground Lease and Conveyance of Improvements dated September 30, 2010 as confirmed by
      that certain Memorandum of (I) Third Amended and Restated Ground Lease; (II) Conveyance of
      Improvements; (III) Grant and Reservation of Easements; (IV) Restrictions on Access Rights; and (V)
      Release and Cancellation of Easements and Agreements; and Consent, collectively (the "Third
      Memorandum"), dated as of September 30, 2010 and filed in said Office of the Assistant Registrar as
      Document No. 4015307 through 4015309 and noted on Transfer Certificate of Title Nos. listed therein, and
      also recorded in said Bureau of Conveyances as Document No. 2010-165577 through 2010-165579 (all of
      the foregoing being referred to herein as the "Ground Lease"). Said Ground Lease was created for the term
      and upon and subject to all the provisions contained in said Document, in said memoranda, and in said
      assignment; as to the land described in Exhibit One inclusive attached herein, excepting therefrom all
      "Existing Improvements" (as defined in the Ground Lease).


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                                              EXHIBIT 13
Order No.            15008205-FTHAI01
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                                                  (Continued)


10.   MORTGAGE, SECURITY AGREEMENT, FINANCING STATEMENT AND FIXTURE FILING (City and
      County of Honolulu, State of Hawaii)

      Mortgagor:                    HAWAII MILITARY COMMUNITIES, LLC, a Hawaii
                                    limited liability company, and
      Mortgagee:                    BNY WESTERN TRUST COMPANY, a California banking
                                    corporation, as Master Trustee
      Dated:                        as of April 29, 2004
      Effective:                    May 27, 2004
      Recorded:                     May 26, 2004 in the Office of Assistant Registrar of the Land
                                    Court of the State of Hawaii, Document No. 3114644, and also in the Bureau
                                    of Conveyances of the State of Hawaii, Document No. 2004-106212.
      Principal Amount:             $289,000,000.00

      BNY WESTERN TRUST COMPANY, a California banking corporation, is now known as THE BANK OF
      NEW YORK TRUST COMPANY, N.A., a national banking association organized and existing under the
      laws of the United States, as set forth by Land Court Order 166935, filed July 20, 2006 and also by
      Memorandum Regarding Trustee (Ohana Military Master Indenture of Trust), dated July 5, 2006, recorded
      as Document No. 2006-136578, and further amended by Land Court Order No. 167841, filed on
      September 29, 2006.
      The Mortgagor's interest in the foregoing was assigned by the following:

      OMNIBUS ASSIGNMENT, ASSUMPTION, CONSENT AND RELEASE AGREEMENT (INCLUDING
      ASSIGNMENT AND ASSUMPTION OF GROUND LEASE, CONVEYANCE OF IMPROVEMENTS,
      ASSIGNMENT AND ASSUMPTION OF MORTGAGE AND ASSIGNMENT OF RENTS) (City and County
      of Honolulu, State of Hawaii)

      Assignor:                     HAWAII MILITARY COMMUNITIES, LLC, a Hawaii
                                    limited liability company
      Assignee:                     OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                    limited liability company
      Government:                   UNITED STATES OF AMERICA, Department of Navy,
                                    Pacific Division, Naval Facilities Engineering Command
      Indenture Trustee:            BNY WESTERN TRUST COMPANY, a California banking
                                    corporation
      Dated:                        as of April 29, 2004
      Effective:                    May 26, 2004
      Land Court Document Nos.      3114646, 3114647 and 3114648
      Document Nos.                 2004-106214, 2004-106215 and 2004-106216

      FIRST AMENDED AND RESTATED MORTGAGE, SECURITY AGREEMENT, FINANCING STATEMENT
      AND FIXTURE FILING

      Mortgagor:                    OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                    limited liability company, and
      Mortgagee:                    THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                    national banking association (formerly known as BNY
                                    Western Trust Company), as Master Trustee
      Dated:                        October 1, 2006
      Effective:                    October 1, 2006
      Land Court Document No.       3495683
      Document No.                  2006-185237


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                                               EXHIBIT 13
Order No.          15008205-FTHAI01
                                          EXCEPTIONS
                                             (Continued)
      SECOND AMENDED AND RESTATED MORTGAGE, SECURITY AGREEMENT, FINANCING
      STATEMENT AND FIXTURE FILING

      Mortgagor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                 limited liability company, and
      Mortgagee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                 national banking association (formerly known as BNY Western
                                 Trust Company), as Master Trustee
      Effective:                 November 9, 2006
      Recorded:                  November 14, 2006
      Land Court Document No.    3513193
      Document No.               2006-207969


      THIRD AMENDED AND RESTATED MORTGAGE, SECURITY AGREEMENT, FINANCING STATEMENT
      AND FIXTURE FILING

      Mortgagor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                 limited liability company, and
      Mortgagee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                 national banking association (formerly known as BNY
                                 Western Trust Company), as Master Trustee
      Effective:                 October 1, 2007
      Recorded:                  October 1, 2007
      Land Court Document No.    3662325
      Document No.               2007-173833

      FOURTH AMENDED AND RESTATED MORTGAGE, SECURITY AGREEMENT, FINANCING
      STATEMENT AND FIXTURE FILING

      Mortgagor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                 limited liability company, and
      Mortgagee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                 national banking association (formerly known as BNY
                                 Western Trust Company), as Master Trustee
      Effective:                 October 25, 2007
      Recorded:                  October 25, 2007
      Land Court Document No.    3673355
      Document No.               2007-188550

      FIRST AMENDMENT TO FOURTH AMENDED AND RESTATED MORTGAGE AND FOURTH
      AMENDED AND RESTATED ASSIGNMENT OF LEASES AND RENTS

      Mortgagor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                 limited liability company, and
      Mortgagee:                 THE BANK OF NEW YORK TRUST COMPANY,
                                 NATIONAL ASSOCIATION, a national banking association (formerly known
                                 as BNY Western Trust Company), as Master Trustee
      Effective:                 September 30, 2010
      Recorded:                  November 1, 2010
      Land Court Document Nos.   4015310 Through 4015311
      Document Nos.              2010-165581 through 2010-165582.




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                                               EXCEPTIONS
                                                  (Continued)


11.   ASSIGNMENT OF LEASES AND RENTS (City and County of Honolulu, State of
      Hawaii)

      Assignor:                      HAWAII MILITARY COMMUNITIES, LLC., a Hawaii
                                     limited liability company
      Assignee:                      BNY WESTERN TRUST COMPANY, a California
                                     banking corporation, as Master Trustee
      Dated:                         as of April 29, 2004
      Effective:                     May 26, 2004
      Document No.                   3114645
      Document No.                   2004-106213
      Re:                            Assignment of all of Assignor's right, title and interest in and
                                     to all of the rents, revenues, income, proceeds, profits, security and other
                                     types of deposits and other benefits paid or payable to Assignor for using,
                                     leasing, occupying, licensing, possessing, operating from, residing in, selling,
                                     or otherwise enjoying all or any portion of the land herein described, as
                                     security for the repayment of $289,000,000.00.

      BNY WESTERN TRUST COMPANY, a California banking corporation, is now known as THE BANK OF
      NEW YORK TRUST COMPANY, N.A., a nationally banking association organized and existing under the
      laws of the United States, as set forth by Land Court Order 166935, filed July 20, 2006 and also by
      Memorandum Regarding Trustee (Ohana Military Master Indenture of Trust), dated July 5, 2006, recorded
      as Document No. 2006-136578, and further amended by Land Court Order No. 167841, filed on
      September 29, 2006.

      The Assignor's interest in the foregoing was assigned by the following:

      OMNIBUS ASSIGNMENT, ASSUMPTION, CONSENT AND RELEASE AGREEMENT (INCLUDING
      ASSIGNMENT AND ASSUMPTION OF GROUND LEASE, CONVEYANCE OF IMPROVEMENTS,
      ASSIGNMENT AND ASSUMPTION OF MORTGAGE AND ASSIGNMENT OF RENTS) (City and County
      of Honolulu, State of Hawaii)

      Assignor:                      HAWAII MILITARY COMMUNITIES, LLC, a Hawaii
                                     limited liability company
      Assignee:                      OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                     limited liability company
      Government:                    UNITED STATES OF AMERICA, Department of Navy,
                                     Pacific Division, Naval Facilities Engineering Command
      Indenture Trustee:             BNY WESTERN TRUST COMPANY, a California
                                     banking corporation
      Dated:                         As of April 29, 2004
      Effective:                     May 26, 2004
      Land Court Document Nos.       3114646, 3114647 and 3114648
      Document Nos.                  2004-106214, 2004-106215 and 2004-106216




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      FIRST AMENDED AND RESTATED ASSIGNMENT OF LEASES AND RENTS

      Assignor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                limited liability company, and
      Assignee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                national banking association (formerly known as BNY
                                Western Trust Company), as Master Trustee
      Dated:                    October 1, 2006
      Effective:                October 1, 2006
      Land Court Document No.   3495684
      Document No.              2006-185238

      SECOND AMENDED AND RESTATED ASSIGNMENT OF LEASES AND RENTS

      Assignor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                limited liability company, and
      Assignee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                national banking association (formerly known as BNY Western
                                Trust Company), as Master Trustee
      Effective:                November 9, 2006
      Recorded:                 November 14, 2006
      Land Court Document No.   3513194
      Document No.              2006-207970

      THIRD AMENDED AND RESTATED ASSIGNMENT OF LEASES AND RENTS

      Assignor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                limited liability company, and
      Assignee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                national banking association (formerly known as BNY
                                Western Trust Company), as Master Trustee
      Effective:                October 1, 2007
      Recorded:                 October 1, 2007
      Land Court Document No.   3662326
      Document No.              2007-173834

      FOURTH AMENDED AND RESTATED ASSIGNMENT OF LEASES AND RENTS

      Assignor:                 OHANA MILITARY COMMUNITIES, LLC, a Hawaii
                                limited liability company, and
      Assignee:                 THE BANK OF NEW YORK TRUST COMPANY, N.A. a
                                national banking association (formerly known as BNY
                                Western Trust Company), as Master Trustee
      Effective:                October 25, 2007
      Recorded:                 October 25, 2007
      Land Court Document No.   3673356
      Document No.              2007-188551




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                                                (Continued)


12.   UCC FINANCING STATEMENT

      Filed:                       May 25, 2004
      Document No.                 2004-105395
      Debtor:                      HAWAII MILITARY COMMUNITIES, LLC
      Additional Debtor:           OHANA MILITARY COMMUNITIES, LLC
      Secured Party:               BNY WESTERN TRUST COMPANY, as master trustee

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       May 27, 2004
      Document No.                 2004-108083

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       July 26, 2006
      Document No.                 2006-136579
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 10, 2006
      Document No.                 2006-185240

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 8, 2007
      Document No.                 2007-178311

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       April 22, 2009
      Document No.                 2009-060911

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 20, 2011
      Document No.                 2011-172260

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 20, 2011
      Document No.                 2011-172261
      Secured Party:               The Bank of New York Mellon Trust Company, National
                                   Association, as Master Trustee

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       January 31, 2014
      Document No.                 A-51440661




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                                             EXCEPTIONS
                                                (Continued)


      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       March 10, 2014
      Document No.                 A-51820580

13.   UCC FINANCING STATEMENT

      Filed:                       May 25, 2004
      Document No.                 2004-105396
      Debtor:                      HAWAII MILITARY COMMUNITIES, LLC
      Additional Debtor:           OHANA MILITARY COMMUNITIES, LLC
      Secured Party:               BNY WESTERN TRUST COMPANY, as master trustee

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       May 27, 2004
      Document No.                 2004-108084

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       July 26, 2006
      Document No.                 2006-136580
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       November 14, 2006
      Document No.                 2006-207973

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 8, 2007
      Document No.                 2007-178312

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 25, 2007
      Document No.                 2007-188554

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       April 22, 2009
      Document No.                 2009-060910

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       November 1, 2010
      Document No.                 2010-165583
      Secured Party:               The Bank of New York Mellon Trust Company, National
                                   Association, as Master Trustee




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                                                  (Continued)


      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       November 1, 2010
      Document No.                 2010-165584

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       November 1, 2010
      Document No.                 2010-165585

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       January 31, 2014
      Document No.                 A-51440662

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       March 10, 2014
      Document No.                 A-51820581

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       June 3, 2014
      Document No.                 A-52670805

14.   UCC FINANCING STATEMENT

      Filed:                       October 10, 2006
      Document No.                 2006-185239
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 8, 2007
      Document No.                 2007-178308

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163335

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163336

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163337




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                                               (Continued)


15.   UCC FINANCING STATEMENT

      Filed:                       November 14, 2006
      Document No.                 2006-207971
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 1, 2007
      Document No.                 2007-173835
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 8, 2007
      Document No.                 2007-178309

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163338

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163339

16.   UCC FINANCING STATEMENT

      Filed:                       November 14, 2006
      Document No.                 2006-207972
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 1, 2007
      Document No.                 2007-173836
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A.

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 8, 2007
      Document No.                 2007-178310

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163340




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      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 6, 2011
      Document No.                 2011-163341

17.   UCC FINANCING STATEMENT

      Filed:                         October 25, 2007
      Document No.                   2007-188552
      Secured Party:                 THE BANK OF NEW YORK TRUST COMPANY, N.A., as
                       Master Trustee

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 20, 2011
      Document No.                 2011-172262

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       April 23, 2012
      Document No.                 A-44961034

18.   UCC FINANCING STATEMENT

      Filed:                       October 25, 2007
      Document No.                 2007-188553
      Secured Party:               THE BANK OF NEW YORK TRUST COMPANY, N.A., as
                                   Master Trustee

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       October 20, 2011
      Document No.                 2011-172263

      UCC FINANCING STATEMENT AMENDMENT

      Filed:                       April 23, 2012
      Document No.                 A-44961035

19.   UCC FINANCING STATEMENT

      Filed:                       November 1, 2010
      Document No.                 2010-165586
      Secured Party:               The Bank of New York Mellon Trust Company, National
                                   Association, as Master Trustee




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20.   UCC FINANCING STATEMENT

      Filed:                             November 1, 2010
      Document No.                       2010-165587
      Secured Party:                     The Bank of New York Mellon Trust Company, National
                                         Association, as Master Trustee

21.   UCC FINANCING STATEMENT

      Filed:                             March 3, 2014
      Document No.                       A-51750370
      Secured Party:                     Solarcity Corporation

22.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a
      correct survey would disclose and which are not shown by the public records.

23.   Any unrecorded or unfiled leases, subleases or rental agreements and any liens, charges or exceptions
      against any lessees, sublessees or tenants named therein.

24.   Any claims for mechanics' liens that may be recorded by reason of a recent work of improvement under
      construction and/or completed at the date hereof.

      END OF ITEMS

               Notes:

      A.       Any escrow involving real property located in the State of Hawaii must be handled by an escrow
               depository which is licensed by the State of Hawaii. Effective July 1, 2010, Hawaii Revised Statutes
               Section 449-5(b) states: "No person shall act as an escrow depository from an out-of-state location
               for property located in this State unless licensed to act as a Hawaii escrow depository by the
               commissioner." Fidelity National Title & Escrow of Hawaii, Inc. is a Hawaii-licensed escrow
               depository. Please contact our office for assistance in complying with the Hawaii Escrow Law.

      B.       There are NO conveyances affecting said land, recorded within six (6) months of the date of this
               report.

      C.       The following qualifying language applies to any and all covenants, conditions and restrictions
               (CC&R's) set forth in the numbered items above:

               But omitting any covenants or restrictions, if any, based upon race, color, religion, sex, sexual
               orientation, familial status, marital status, disability, handicap, national origin, ancestry, or source of
               income, as set forth in applicable state or federal laws, except to the extent that said covenant or
               restriction is permitted by applicable law.




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                                                      (Continued)


      D.       Before issuing its policy of title insurance, this Company will require for review, the following
               documents from the Limited Liability Company named below.

               Limited Liability Company: OHANA MILITARY COMMUNITIES, LLC, a Hawaii limited liability
               company

               (a)    A copy of its operating agreement and any and all amendments, supplements and/or
               modifications thereto, certified by the appropriate manager or member.

               (b)  If the Limited Liability Company is member-managed a full and complete current list of
               memberscertified by the appropriate manager or member.

               (c)     If the Limited Liability Company was formed in a foreign jurisdiction, evidence satisfactory to
               the Company, that it was validly formed, is in good standing and authorized to do business in the
               State of origin.

               After review of the requested documents, the Company reserves the right to add additional items or
               make additional requirements prior to the issuance of any policy of title insurance.




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                                                   EXHIBIT 13
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